                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:05cr103

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                      ORDER
                                         )
WILLIAM BOYD                             )
________________________________________ )


        THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 62).

        The defendant pled guilty to Count One of the indictment on August 17, 2005, charging

him with conspiracy to possess with intent to distribute more than 100 grams of heroin. (Doc. No.

59: Plea Agreement; Doc. No. 64: Acceptance and Entry of Guilty Plea). Pursuant to § 3145(b),

the defendant seeks review of the magistrate judge's detention order entered May 6, 2005. (Doc.

No. 16).

        Upon review of the record, even in a light most favorable to the defendant, the Court finds

the circumstance alleged by the defendant of completing a 28-day in-jail drug treatment program

is insufficient for this Court to alter the Order of Detention, particularly in light of the magistrate

judge's finding that the defendant had failed to appear previously on a state felony drug case (Doc.

No. 16).

        IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.



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                      Signed: September 27, 2005




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